




Opinion filed February 26, 2009











 
  
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Opinion filed February 26,
2009

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In The

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&nbsp;&nbsp;&nbsp; Eleventh
Court of Appeals

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; ____________

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; __________

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; IN
THE INTEREST OF J.M.T., A CHILD

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On
Appeal from the 259th District Court

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Shackelford
County, Texas

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Trial
Court Cause No. 2006-023

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; O
P I N I O N

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This
appeal arises from an order granting grandparent visitation.&nbsp; Appellants are
the paternal grandparents of the child.&nbsp; They initiated the underlying
proceeding by filing a petition against the biological parents of the child
seeking to be named as the joint managing conservators of the child.&nbsp; Appellees
are the maternal grandparents of the child.&nbsp; They intervened in the underlying
proceeding by seeking an order granting them possession or access to the
child.&nbsp; Appellants subsequently filed an amended petition seeking to terminate
the rights of the child=s
biological parents.&nbsp; In this regard, the biological parents of the child
executed affidavits relinquishing their parental rights.&nbsp; Appellants
additionally sought to adopt the child.








The
case proceeded to a final hearing that occurred on September 21, 2007.&nbsp;
Appellees did not oppose appellants=
efforts to terminate the parental rights of the child=s biological parents or their request to adopt
the child.&nbsp; The trial court granted the requested termination and adoption by
naming appellants as the parents of the child at the outset of the hearing.&nbsp;
The trial court then conducted a contested hearing on appellees= request for an order
providing them access to the child.&nbsp; Appellants opposed the request on the
basis that, as the newly named parents of the child, they did not want to be
subjected to a fixed, court-mandated schedule for appellees= visitation of the child.&nbsp;
The trial court granted appellees=
request for grandparent access by entering an order providing for their
possession of the child on the first weekend of each month, a portion of the
Thanksgiving and Christmas holidays, and one week each summer.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Issue

In
a sole issue, appellants assert that the trial court abused its discretion by
awarding appellees court-ordered possession of the child.&nbsp; We reverse and
render.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Applicable
Law

Possession
of or access to a child by a grandparent is governed by the standards
established by Tex. Fam. Code Ann.
ch. 153 (Vernon 2008).&nbsp; Tex. Fam. Code
Ann. ' 102.0048 (Vernon 2008); In re
Chambless, 257 S.W.3d 698, 700 (Tex. 2008).&nbsp; The specific statute
applicable to this appeal is Section 153.433.&nbsp; The legislature amended Section
153.433 in 2005 in an effort to bring the Texas statute into compliance with
the U.S. Supreme Court=s
holding in Troxel v. Granville, 530 U.S. 57, 65 (2000) (plurality
opinion).&nbsp; See In re Derzapf, 219 S.W.3d 327, 333 (Tex. 2007).&nbsp; The
Court held in Troxel that parents enjoy a fundamental right to make
decisions concerning Athe
care, custody, and control of their children.@&nbsp;
530 U.S. at 65.&nbsp; A[S]o
long as a parent adequately cares for his or her children (i.e., is fit), there
will normally be no reason for the State to inject itself into the private
realm of the family.@&nbsp;
Troxel, 530 U.S. at 68.








Section
153.433(2) now requires that a grandparent seeking court‑ordered access overcome
the presumption that a parent acts in his or her child=s best interest by proving by a preponderance
of the evidence that Adenial
. . . of access to the child would significantly impair the child=s physical health or
emotional well‑being.@&nbsp;
Derzapf, 219 S.W.3d at 333.&nbsp; Under the statute, a trial court must
presume that a fit parent acts in his or her child=s best interest.&nbsp; Id.&nbsp; A trial court
abuses its discretion when it grants access to a grandparent who has not met
this standard because a trial court has no discretion in determining what the
law is or in applying the law to the facts, even when the law is unsettled. Id.;
In re Prudential Ins. Co. of Am., 148 S.W.3d 124, 135 (Tex. 2004).

&nbsp;The
parental presumption set out in Section 153.433(2) is applicable to this appeal
in light of appellants=
status as the newly adoptive parents of the child.&nbsp; See Tex. Fam. Code Ann. ' 101.024 (Vernon 2008) (AParent,@ as used in Section
153.433, is defined as Athe
mother, a man presumed to be the father, a man legally determined to be the
father, a man who has been adjudicated to be the father by a court of competent
jurisdiction, a man who has acknowledged his paternity under applicable law, or
an adoptive mother or father.@
(emphasis added)); see also Tex.
Fam. Code Ann. '
162.017(a) (Vernon 2008) (AAn
order of adoption creates the parent‑child relationship between the
adoptive parent and the child for all purposes.@).&nbsp;
Accordingly, we review the record to determine if appellees satisfied the
heightened requirements of Section 153.433(2).&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Analysis


The
evidence offered at the final hearing was largely uncontested.&nbsp; Appellees
agreed that appellants had essentially been acting as the child=s parents for the
eighteen-month period preceding the hearing and that they had done a good job
in that role.&nbsp; Appellees also stated that they had a Agood rapport and relationship@ with appellants regarding
visitation in the past.&nbsp; Appellants stated that they wanted appellees to
continue to have a Agood
healthy relationship@
with the child and that they intended to continue permitting appellees to have
access to the child.&nbsp; However, appellants did not want appellees= visitation with the child
to be controlled by a fixed schedule.

The
trial court entered a finding of fact that A[d]enial
of possession of the child [by appellees] would significantly impair the child=s emotional development.@&nbsp; Appellees contend that
there is evidence that supports this finding.[1]&nbsp;
Specifically, the following exchange occurred during the direct examination of
appellee Cynthia Thomason:

Q.&nbsp; At this point in
[the child=s] life
would denying possession and access to youBto
him by you and your husband, do you think that would significantly impair his
emotional development?

&nbsp;

A. Yes, I do.

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Appellees also
point to evidence indicating that they had been having court-ordered visitation
with the child on an every-other-weekend basis for the preceding twelve-month
period as a result of temporary orders entered by the court.

We
disagree with appellees=
contention that there is evidence supporting the trial court=s finding.&nbsp; We initially
note that there is no evidence that appellants intended to deny appellees from
having possession of or access to the child.&nbsp; To the contrary, the evidence
indicates that appellants would continue to permit appellees to have access to
the child.&nbsp; The supreme court ruled in Mays-Hooper that an order
granting grandparent visitation cannot survive the holding in Troxel if
there is no evidence that the parent intended to completely exclude the
grandparent=s access.&nbsp;
In re Mays-Hooper, 189 S.W.3d 777, 778 (Tex. 2006).&nbsp; Furthermore,
Section 153.433(2) provides:

[T]he grandparent
requesting possession of or access to the child overcomes the presumption that
a parent acts in the best interest of the parent=s
child by proving by a preponderance of the evidence that denial of
possession of or access to the child would significantly impair the child=s physical health or
emotional well‑being (emphasis added).

&nbsp;

Thus, the Adenial of possession of or
access to the child@
by the grandparent is an express element in obtaining grandparent access under
the statute in contravention of a parent=s
preference.&nbsp;&nbsp; Without evidence that appellants intended to deny appellees any possession
or access&nbsp; to the child, the trial court abused its discretion by granting
court-ordered visitation to appellees.

Moreover,
the evidence of significant impairment to the child=s emotional development is lacking.&nbsp; It
essentially consists of an affirmative response from an interested witness (one
of the grandparents seeking access to the child) to a question that tracked the
language of the statute.&nbsp; As noted by the Texas Supreme Court in Derzapf:

The
Legislature set a high threshold for a grandparent to overcome the presumption
that a fit parent acts in his children=s
best interest:&nbsp; the grandparent must prove that denial of access would Asignificantly impair@ the children=s physical health or
emotional well‑being.&nbsp; Tex. Fam.
Code '
153.433(2) (emphasis added).&nbsp; There has been no such showing here.&nbsp; A court may
not lightly interfere with child‑rearing decisions made by [a fit parent]
simply because a Abetter
decision@ may have
been made.&nbsp; Troxel, 530 U.S. at 73, 120 S. Ct. 2054.

&nbsp;








219 S.W.3d at
334.&nbsp; In the absence of evidence elaborating how the denial of access to the
grandparent would significantly impair the child=s
physical health or emotional well-being, we conclude that the evidence cannot
overcome the parental presumption.&nbsp; Appellants=
sole issue is sustained.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Conclusion

This
is an unusual grandparent access case because it pits one set of the child=s biological grandparents
against the other set of biological grandparents.&nbsp; However, the set of
grandparents that opposed the requested grandparent access attained the status
of parents by virtue of their adoption of the child.&nbsp; There is no evidence that
appellants have been or will be unfit parents to the child.&nbsp; Thus, their
preference for appellees=
visitation schedule with the child must be accorded a high level of deference.&nbsp;
There is no evidence that appellants intend to deny appellees access to the
child.&nbsp; Furthermore, even if there was evidence that appellants intended to
deny access, there is insufficient evidence that the denial would significantly
impair the child=s
well-being.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; This
Court=s Ruling

The
judgment of the trial court is reversed, and judgment is rendered in favor of
appellants on the issue of grandparent possession or access.

&nbsp;

&nbsp;

TERRY McCALL

JUSTICE

&nbsp;

February 26,
2009

Panel consists of:&nbsp; Wright, C.J.,

McCall, J., and Strange, J.









[1]Appellees cite our holding in In re S.C.S., 201
S.W.3d 882, 888 (Tex. App.CEastland 2006, no pet.), for the proposition that, if
there is some evidence of a substantive and probative character to support the
decision of the trial court, no abuse of discretion occurs.&nbsp; See In re
E.A.C., 162 S.W.3d 438, 441 (Tex. App.CDallas
2005, no pet.); In re P.J.H., 25 S.W.3d 402, 405 (Tex. App.CFort Worth 2000, no pet.).







